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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
JOHN LAYER, on behalf of himself and                :
similarly situated employees,                       :
                              Plaintiff,            :   2:18-cv-02358-PD
                    v.                              :
                                                    :
TRINITY HEALTH CORPORATION;                         :
MERCY HEALTH SYSTEM; and LOURDES                    :
HEALTH SYSTEM,                                      :
                        Defendants.                 :
                                                    :

                         PLAINTIFF’S BRIEF IN OPPOSITION
                        TO DEFENDANTS’ MOTION TO DISMISS

       John Layer (“Plaintiff”) has sued Trinity Health Corporation (“Trinity”), Mercy Health

System (“Mercy”), and Lourdes Health System (“Lourdes”) (collectively “Defendants”) for

failing to pay him overtime wages as required by the Fair Labor Standards Act (“FLSA”) and the

Pennsylvania Minimum Wage Act (“PMWA”). See Complaint (Doc. 1). Defendants respond

with a Rule 12(b)(6) motion arguing that under the FLSA: (i) Trinity is not one of Plaintiff’s

employers and (ii) Mercy and Lourdes are not his “joint employers.” See Def. Br. (Doc. 16).1

       As discussed below, Defendants’ motion lacks merit and should fail:

    A. Plaintiff’s general overtime rights claim.

       The factual allegations relevant to the employment/joint employment issues raised in

Defendants’ motion are summarized in Section C below. In the meantime, here is a brief

summary of Plaintiff’s basic legal claim:

       The FLSA and PMWA allow employees to receive overtime pay for hours worked over

40 per week. See 29 U.S.C. § 207(a)(2); 43 P.S. § 333.104(c). This obligation is modified for

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   Defendants ignore Plaintiff’s PMWA claim except for a brief footnote. See Def. Br. (Doc. 16)
at p. 6 n. 3.


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health care employers so that, under some circumstances, overtime pay is not due until the

employee’s hours exceed 80 in a 14-day period. See 29 U.S.C. § 207(j); 43 P.S. § 333.104(c).

       Plaintiff works as a Medical Lab Technician, is paid an hourly wage, and is classified as

non-exempt from federal and state overtime laws. See Complaint (Doc. 1) at ¶ 21. Sometimes,

during the same 7-day week or 14-day pay period, Plaintiff works at both Mercy facilities

(particularly the Mercy Philadelphia Hospital) and Lourdes facilities (particularly Our Lady of

Lourdes Medical Center and/or Lourdes Medical Center of Burlington County). See id. at ¶ 22.

Plaintiff contends that, during such weeks and pay periods, his overtime pay should be based on

his total, combined hours working at all facilities. See id. at ¶ 24 and Counts I-II. Defendants

violated this rule. See Complaint (Doc. 1) at ¶ 24.

       Most people who “work two jobs” have no right to combine their hours for overtime

calculation purposes. Let’s say, for example, Ms. Jones works Monday-Friday driving a forklift

at the warehouse and, in addition, works a few evenings as a waitress at the local diner. No one

would suggest that Ms. Jones gets to combine her forklift-driving and waitressing hours for

overtime pay purposes. That’s because the warehouse and the diner are unrelated entities.

       But Plaintiff’s lawsuit is very different. Here, Mercy and Lourdes are both part of

Trinity’s integrated network of health systems. See Section C infra (summarizing factual

allegations). So, for purposes of calculating overtime pay, all of Plaintiff’s work hours must be

combined together. Otherwise, a large business conglomerate (like Trinity) with multiple arms

could circumvent the overtime laws by simply spreading an employees’ work hours among the

various arms. That’s unfair. So the Department of Labor implemented 29 C.F.R. § 791.2(a)-(b),

which generally prevents such practices. The Court is respectfully referred to this regulation for

a good summary of the legal principles applicable to Plaintiff’s general liability theory.




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   B. The Third Circuit’s Thompson opinion specifically addresses joint employment at
      the pleadings stage.

       Defendants ignore the most important case. In Thompson v. Real Estate Mortgage

Network, 748 F.3d 142 (3d Cir. 2014), the Third Circuit explained that, at the pleadings stage,

workers are not expected to have detailed information regarding the interrelationships between

corporate defendants and, therefore, cannot be expected to definitively litigate each defendants’

employer status. See Thompson, 748 F.3d at 148-49; see also Field v. DIRECTV LLC, 2015

U.S. Dist. LEXIS 193177, *4-6 (E.D. Pa. Aug. 21, 2015) (Diamond, J.) (denying motion to

dismiss FLSA claim and explaining that joint employment determination must be based “‘on a

consideration of the total employment situation’”).

       In Thompson, a mortgage underwriter named Patricia Thompson alleged that two related

companies – Security Atlantic Mortgage Company (“Security Atlantic”) and Real Estate

Mortgage Network (“REMN”) – were jointly liable under the FLSA for improperly classifying

her as overtime-exempt. See Thompson, 748 F.3d at 145-46. The district court dismissed the

FLSA claim, holding that Ms. Thompson failed to plead that Security Atlantic and REMN were

joint employers under the FLSA. See id. at 147; see also Thompson v. Real Estate Mortgage

Network, 2012 U.S. Dist. LEXIS 190045, *12-14 (D.N.J. Aug. 31, 2012). The district court

provided Ms. Thompson with the opportunity to re-plead. See Thompson, 748 F.3d at 145-46.

However, she declined the invitation and appealed instead. See id.

       On appeal, the Third Circuit reversed the district court. See Thompson, 748 F.3d at 148-

49. In so doing, the Court made some important observations that are relevant here:

       First, the Court recognized the basic principle that, in deciding Rule 12(b)(6) motions,

judges must “accept as true all facts set forth in the [complaint], and draw all reasonable

inferences from such allegations in favor of the claimant.” Thompson, 748 F.3d at 145 n. 1



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(citing Warren General Hospital v. Amgen, Inc., 643 F.3d 77, 84 (3d Cir. 2011)).

        Second, the Court explained that the FLSA “defines employer ‘expansively,’ and with

‘striking breadth.’” Id. at 148 (quoting In re Enterprise Rent-A-Car Wage & Hour Employment

Practices Litig., 683 F.3d 462, 467 (3d Cir. 2012)). In fact, “the FLSA’s definition of an

employer is ‘the broadest definition that has ever been included in any one act.’” Id. (quoting

Enterprise, 683 F.3d at 467-68).

        Third, the Court recognized that its previous Enterprise opinion described four factors

that are relevant to the joint employment analysis. See Thompson, 748 F.3d at 149 (quoting

Enterprise, 683 F.3d at 469. However, the Court explained that these four factors are “non-

exhaustive.” Id. That’s because the FLSA employment “determination depends on ‘all the facts

of a particular case.’” Id. (quoting 29 C.F.R. 791.2(a)); see also Enterprise, 683 F.3d at 469

(“We emphasize, however, that these factors do not constitute an exhaustive list of all potentially

relevant facts and should not be ‘blindly applied.’”); Field, 2015 U.S. Dist. LEXIS 193177, at *5

(same); Rapczynski v. DIRECTV, LLC, 2016 U.S. Dist. LEXIS 34833, *16 (M.D. Pa. Mar. 17,

2016)

        Fourth, the Court explained that the employment analysis often turns on evidence that is

unavailable at the pleadings stage and goes beyond the personal knowledge of the individual

plaintiff:

                 We caution that our assessment rests heavily on the procedural
                 posture of this litigation. Thompson, a low-level employee with
                 each of the defendant companies, has had no opportunity for
                 discovery as to payroll and taxation documents, disciplinary
                 records, internal corporate communications, or leadership and
                 ownership structures. It may well be that a fully developed factual
                 record will preclude a finding that Security Atlantic and REMN
                 were "joint employers" of Thompson for any of the pay periods at
                 issue. But under these circumstances, we cannot say that
                 Thompson's Amended Complaint fails to state a claim upon which



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               relief can be granted. We will vacate the District Court's dismissal
               of Thompson's claims in this regard and remand for further
               proceedings.

Thompson, 748 F.3d at 149 (emphasis supplied).2

       Fifth, the Court held that Ms. Thompson adequately pled joint employment based on only

three factual allegations: (i) that REMN provided her with training after she was hired by

Security Atlantic; (ii) that one of the trainers referred to REMN as being Security Atlantic’s

“sister company;” and (iii) that, after Security Atlantic went out of business, Ms. Thompson was

integrated into REMN’s business. See Thompson, 748 F.3d at 149.

    C. Plaintiff sufficiently pleads that he was employed by Trinity under the FLSA.

       Defendants argue that Trinity cannot plausibly be one of Plaintiff’s employers under the

FLSA. See Def. Br. (Doc. 16) at 10-19. Defendants address each of the four Enterprise factors

and, ignoring most of Plaintiff’s factual allegations, assert that none of the factors can be

satisfied. See id. Defendants’ analysis is flawed for at least three reasons:

       First, Defendants are too hung up on the Enterprise factors. As Thompson makes clear,

the Enterprise factors are “non-exhaustive” because the FLSA employment “determination

depends on ‘all the facts of a particular case.’” Id. (quoting 29 C.F.R. 791.2(a)). The Enterprise

Court similarly “emphasize[d] . . . that these factors do not constitute an exhaustive list of all

potentially relevant facts and should not be ‘blindly applied.’” Enterprise, 683 F.3d at 469



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  See also Harris v. Medical Transportation Management, Inc., 300 F. Supp. 3d 234, 243 (D.C.
Cir. 2018) (“defeating a claim of joint employment at the motion to dismiss stage is no easy
task”); Benitez v. Demco of Riverdale, LLC, 2015 U.S. Dist. LEXIS 20325, *4 (S.D.N.Y. Feb.
19, 2015) (whether a franchisor is a joint employer “presents a question of fact that cannot be
resolved on a pre-answer motion to dismiss”); Aguilar v. United Floor Crew, 2014 U.S. Dist.
LEXIS 166468, *9 (S.D. Fla. Dec. 1, 2014) (joint employment “inquiry is ill-suited for
consideration on a motion to dismiss.”); Jennings v. Rib King West Palm, LLC, 2012 U.S. Dist.
LEXIS 183959, *6 (S.D. Fla. Aug. 15, 2012) (“resolution of this matter at this stage in the
proceedings is premature”).


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(emphasis in original).3 Indeed, at discussed in Section B above, the Thompson Court did not

strictly follow the Enterprise factors when it reversed the district court based on only three of

Ms. Thompson’s factual allegations. See Thompson, 748 F.3d at 149.

       Second, Defendants’ assertion that Trinity does not “employ” Plaintiff and other

individuals who work in its national health care network is flatly contradicted by Trinity’s own

corporate website, which asserts that Trinity “employ[s] more than 133,000 colleagues”

throughout the country. See Complaint (Doc. 1) at ¶ 14 (emphasis supplied). This assertion,

standing alone, sufficiently enables the Court to “draw [the] reasonable inference[],” Thompson,

748 F.3d at 145 n. 1, that Plaintiff is among the 133,000 individuals “employed” by Trinity.

       Third, Defendants ignore many of Plaintiff’s well-pled allegations regarding Trinity.

These allegations include the following:

           Trinity publicly asserts that it “controls” one of the Nations’ largest health care

            systems, which it characterizes as a “comprehensive integrated network” that includes

            both Mercy and Lourdes. See Complaint (Doc. 1) at ¶¶ 10-12.

           Trinity publicly asserts that it “employs” over 133,000 individuals. See id. at ¶ 14

            (emphasis supplied). Plaintiff is one of these employees. See id.

           Trinity publicly asserts that, in the fiscal year ending June 30, 2016, it paid its

            employees $7,056,453,000 in “[s]alaries and wages.” See id. at ¶ 15. This includes

            salaries and wages paid to Plaintiff. See id.

           Trinity publicly asserts that, in the fiscal year ending June 30, 2016, it paid its

            employees $1,457,253,000 in “[e]mployee benefits.” See id. at ¶ 16. This amount

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   See also Hall v. DIRECTV, LLC, 846 F.3d 757, 770 (4th Cir. 2017) (“because the status of a
particular employment relationship is highly fact-dependent, we emphasized that the absence of
a single factor – or even a majority of factors – is not determinative of whether joint employment
does or does not exist”).


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             includes benefits paid to Plaintiff. See id.

            Trinity maintains insurance policies – including worker’s compensation policies –

             that cover Plaintiff and his work. See id. at ¶ 17.

            Trinity’s pension plan covers Plaintiff. See id. at ¶ 18.

            Trinity has implemented a set of “Policies and Procedures” that apply to Plaintiff and

             cover his work. See id. at ¶ 19.

            Trinity maintains a “centralized payroll system” that it uses to determine Plaintiff’s

             compensation. See id. at ¶ 20.

The above allegations go well beyond the allegations cited by the Thompson Court in reversing

the district court’s dismissal order.

        Third, if the Court finds it necessary to compare Plaintiff’s factual allegations to the

Enterprise factors, the following table may be useful:

                Enterprise Factor                             Plaintiff’s Factual Allegations

The alleged employers’ authority to hire and           Trinity asserts that it “controls” a
fire the relevant employees.                           “comprehensive integrated network” that
                                                       includes both Mercy and Lourdes. See
                                                       Complaint (Doc. 1) at ¶¶ 10-12 (emphasis
                                                       supplied).

                                                       Trinity publicly asserts that it “employs” over
                                                       133,000 individuals. See id. at ¶ 14 (emphasis
                                                       supplied). Plaintiff is one of these employees.
                                                       See id.

The alleged employer’s authority to                    Trinity has implemented a set of “Policies and
promulgate work rules and assignments and to           Procedures” that apply to Plaintiff and cover
set the employees’ conditions of employment:           his work. See id. at ¶ 19.
compensation, benefits, and work schedules,
including the rate and method of payment.              Trinity publicly asserts that it paid its
                                                       employees $7,056,453,000 in “[s]alaries and
                                                       wages.” See id. at ¶ 15. This amount includes
                                                       salaries and wages paid to Plaintiff. See id.



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                                                     Trinity publicly asserts that it paid its
                                                     employees $1,457,253,000 in “[e]mployee
                                                     benefits.” See id. at ¶ 16 (emphasis supplied).
                                                     This amount includes salaries and wages paid
                                                     to Plaintiff. See id.

                                                     Trinity’s pension plan covers Plaintiff. See id.
                                                     at ¶ 18.

The alleged employer’s involvement in day-to-        Trinity has implemented a set of “Policies and
day employee supervision, including employee         Procedures” that apply to Plaintiff and cover
discipline                                           his work. See id. at ¶ 19.

The alleged employer’s actual control of             Trinity maintains a “centralized payroll
employee records, such as payroll, insurance,        system” that it uses to determine Plaintiff’s
or taxes.                                            compensation. See id. at ¶ 20.

                                                     Trinity maintains insurance policies –
                                                     including worker’s compensation policies –
                                                     that cover Plaintiff and his work. See id. at ¶
                                                     17.



       In sum, Plaintiff’s factual allegations, when taken as true, “draw [the] reasonable

inference[],” Thompson, 748 F.3d at 145 n. 1, that Trinity was one of Plaintiff’s employers.

   D. Plaintiff sufficiently pleads that he was jointly employed by Mercy and Lourdes.

       Defendants also assert that Plaintiff is not jointly employed by Mercy and Lourdes. See

Def. Br. (Doc. 16) at 19-23. This argument is a little puzzling because Plaintiff clearly alleges

that he worked at both Mercy and Lourdes facilities. See Complaint (Doc. 1) at ¶¶ 22, 24. And

Defendants appear to accept the notion that Plaintiff was “employed” by Mercy when he worked

at Mercy facilities and was “employed” by Lourdes when he worked at Lourdes facilities.

       Defendants appear to contend that, for purposes of calculating overtime, Plaintiff’s

Mercy hours and Lourdes hours should not be combined. Defendants cite to a number of district

court decisions (none from the Third Circuit) that purportedly endorse the concept of “horizontal




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joint employment,” see Def. Br. (Doc. 16) at 19-23, and they invite the Court to endorse a multi-

factor test from a Southern District of New York case (Murphy) that includes factors that many

individual employees cannot realistically address in the absence of discovery. See id. at 20. As

such, the Murphy test, contradicts the Third Circuit’s teaching in Thompson that, at the pleading

stage, workers are not expected to have information regarding matters such as: “do the potential

joint employers have overlapping officers, directors, executives, or managers” and “are there any

agreements between the potential joint employers.” Id.

       This does not need to be so complicated. As noted earlier, the Department of Labor has

implemented regulations addressing the issue at hand:

            Where the employee . . . works for two or more employers at different
            times during the workweek, a joint employment relationship generally
            will be considered to exist: . . . (3) Where the employers are not
            completely disassociated with respect to the employment of a particular
            employee and may be deemed to share control of the employee, directly
            or indirectly, by reason of the fact that one employer controls, is
            controlled by, or is under common control with the other employer.

29 C.F.R. § 791.2(b) (emphasis supplied).

       Here, Plaintiff has pled facts that that, when taken as true, “draw [the] reasonable

inference[],” Thompson, 748 F.3d at 145 n. 1, that the above requirements can be satisfied. First,

Plaintiff clearly asserts that he “works for two or more employers at different times during the

workweek.” See Complaint (Doc. 1) at ¶¶ 22, 24. Second, Plaintiff clearly asserts that Mercy

and Lourdes are not “completely disassociated” and “may be deemed to share control of

[Plaintiff], directly or indirectly, by reason of the fact that one employer is under common

control with the other employer.” See, e.g., id. at ¶¶ 10-12 (describing Trinity’s common control

of Mercy and Lourdes). As Plaintiff summarizes in the Complaint:

            As already explained, the Mercy and Lourdes Systems – like Trinity’s
            other Network Locations – are cogs in a “comprehensive integrated



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               network” of health providers that combine revenues, profits, and
               expenses in a consolidated financial statement, present themselves to
               consumers as having the resources and sophistication of a national
               healthcare conglomerate, see generally http://www.trinity-health.org (last
               viewed June 3, 2018), and achieve economies of scale by centralizing
               and consolidating human resource functions, payroll, employee benefit
               plans, and insurance coverage. In sum, Trinity “controls one of the
               largest health care systems in the United States.” CFO at p. 10
               (emphasis supplied).

Id. at ¶ 26.

    E. Even if Defendants have not waived a PMWA argument, Plaintiff sufficiently pleads
       joint employment under the PMWA.

        Defendants’ motion ignores Plaintiff’s PMWA claim except for a footnote making the

conclusory assertion that PMWA employment principles are identical to the FLSA analysis. See

id. at p. 6 n. 3. This approach to the PMWA claim is wrong for two independent reasons:

        First, the PMWA’s definition of “employer” differs from the FLSA. As Judge Wettick

has explained, the PMWA definition “includes any person or group of persons acting, directly or

indirectly, in the interest of an employer in relation to an employee.” See Henderson v.

University of Pittsburgh Medical Center, 2010 Pa. Dist. & Cnty. Dec. LEXIS 43, *10 (Allegheny

C.C.P. Feb. 24, 2010) (citing 43 P.S. § 333.102(g)). Moreover, the term “person” is defined to

include “a corporation, partnership, limited liability company, business trust, other association,

government entity (other than the Commonwealth), estate, trust, foundation or natural person.”

Id. at *10 n. 6 citing 1 Pa. C.S. § 1991. Thus, a parent corporation’s status as a joint employer to

employees working for a corporate subsidiary is virtually assured due to the PMWA’s extremely

broad definition of “employer” as including “any person” acting “indirectly” in the interest of an

employer in relation to an employee. See id. at *10. Trinity – which, for example, maintained

Plaintiff’s payroll data, provided his worker’s compensation insurance, and issued his Policies

and Procedures – easily meets this standard. See Section C supra.



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       Second, even if Defendants are correct that the FLSA and PMWA are identical with

respect to the “employment” question, Plaintiff’s PMWA claim would survive Defendant’s

motion to dismiss for the same reasons the FLSA claim survives.

   F. If the Court grants Defendants’ motion, Plaintiff should be permitted to file an
      amended complaint.

       Finally, if the Court holds that Plaintiff has not adequately pled employment, Plaintiff

respectfully requests that the Court allow him to file an amended complaint that contains more

detailed allegations. Such a procedure is warranted under Third Circuit law. See Great Western

Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d 159, 174 (3d Cir. 2010); Phillips v.

County of Allegheny, 515 F.3d 224, 236 (3d Cir. 2008); Acosta v. Democratic City Committee,

288 F. Supp. 3d 597, 653 (E.D. Pa. 2018); Accurso v. Infra-Red Services, Inc., 23 F. Supp. 3d

494, 501 (E.D. Pa. 2004).

       WHEREFORE, Plaintiff respectfully requests that the Court deny Defendants’ motion

to dismiss.

Date: August 31, 2018                                Respectfully,

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